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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

UNITED STATES OF AMERICA



       vs.                                      Criminal Action 2:12-cr-0074(4)
                                                Judge Graham

REGAL L. REESE



                             REPORT AND RECOMMENDATION
               The United States of America and defendant Regal L. Reese
entered into a plea agreement whereby defendant agreed to enter a plea
of   guilty    to   Count   One   of   an   Indictment,      which   charges    him   with
conspiracy to possess with intent to distribute and to distribute more
than 100 kilograms of marijuana in violation of 21 U.S.C. § 846. On
August 16, 2012 defendant, accompanied by counsel, appeared for a change
of    plea    proceeding.     Defendant       consented,     pursuant   to     28   U.S.C.
§636(b)(3), to enter a guilty plea before a Magistrate Judge.                  See United
States v. Cukaj, 2001 WL 1587410 at *1 (6th Cir. 2001) [Magistrate Judge
may accept a guilty plea with the express consent of the defendant and
where no objection to the report and recommendation is filed]; United
States v. Torres, 258 F.3d 791, 796 (8th Cir. 2001); United States v.
Dees, 125 F.3d 261, 263-69 (5th Cir. 1997); United States v. Ciapponi, 77
F.3d 1247, 1251 (10th Cir. 1996).
               During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions. Based
on that observation, the undersigned is satisfied that, at the time                    the
guilty plea was entered, defendant was in full possession of defendant’s
faculties, was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics or alcohol.
               Prior to accepting defendant’s plea, the undersigned addressed
defendant     personally    and   in   open    court   and    determined     defendant’s
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competence to plead.              Based on the observations of the undersigned,
defendant understands the nature and meaning of the charge returned in
the Indictment and the consequences of the plea.                          Defendant was also
addressed personally and in open court and advised of each of the rights
referred to in Rule 11 of the Federal Rules of Criminal Procedure.
                Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.                          Defendant acknowledged
that the plea agreement signed by defendant, defendant’s attorney and the
attorney for the United States and filed on August 6, 2012, represents
the only promises made by anyone regarding the charge in Count One of the
Indictment.       Defendant was advised that the District Judge may accept or
reject the plea agreement and that, even if the Court refuses to accept
any provision of the plea agreement not binding on the Court, defendant
may nevertheless not withdraw the guilty plea.
                Defendant confirmed the accuracy of the material aspects of
the statement of facts supporting the charge.                      Defendant confirmed that
he is pleading guilty to Count One of the Indictment because he is in
fact guilty of the offense charged in the Indictment.                                The Court
concludes that there is a factual basis for the plea.
                The Court concludes that defendant’s plea of guilty to Count
One   of    the        Indictment    is   knowingly         and    voluntarily      made     with
understanding of the nature and meaning of the charge and of the
consequences of the plea.
                It is therefore RECOMMENDED that defendant Regal L. Reese’s
guilty plea to Count One of the Indictment be accepted.                            Decision on
acceptance       or     rejection    of   the       plea   agreement       was    deferred    for
consideration          by   the   District   Judge         after    the    preparation       of   a
presentence investigation report.
                In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed     to     by     defendant    through        counsel,      a    written    presentence
investigation report will be prepared by the United States Probation


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Office.   Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.              Objections to the
presentence report must be made in accordance with the rules of this
Court.
            If any party seeks review by the District Judge of this Report

and Recommendation, that party may, within fourteen (14) days, file and

serve on all parties objections to the Report and Recommendation,

specifically designating this Report and Recommendation, and the part

thereof in question, as well as the basis for objection thereto.                  28

U.S.C. §636(b)(1); F.R. Civ. P. 72(b).        Response to objections must be

filed within fourteen (14) days after being served with a copy thereof.

F.R. Civ. P. 72(b).

            The parties are specifically advised that failure to object to

the Report and Recommendation will result in a waiver of the right to de

novo review by the District Judge and of the right to appeal the decision

of the District Court adopting the Report and Recommendation. See Thomas

v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Federation of Teachers,

Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States v. Walters,

638 F.2d 947 (6th Cir. 1981).




August 16, 2012                            s/ Norah McCann King
 Date                                        Norah McCann King
                                      United States Magistrate Judge




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